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AO 91 (Rev. 11/11) Criminal Complaint



                                         UNITED STATES DISTRICT COURT
                                                               for the
                                                    Eastern District of Kentucky

                 United States of America                         )
                                v.                                )
                                                                  )      Case No.
              BENIAMIN-FILIP OLOGEANU
                        a.k.a. Beni                               )
                      a.k.a. Johnla73                             )
                a.k.a. Marian Bradisteanu                         )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of           January 1, 2014 to October 2017     in the county of         Boyd and Fayette         in the
      Eastern          District of           Kentucky         , the defendant(s) violated:

             Code Section                                                   Offense Description
18 U.S.C. 1962(d)                              RICO Conspiracy
18 u.s.c. 1349                                 Wire Fraud Conspiracy
18 U.S.C. 1956(h)                              Money Laundering Conspiracy




          This criminal complaint is based on these facts:

See attached affidavit of U.S. Secret Service Special Agent Mark Coleman.




          gf Continued on the attached sheet.

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                                                                                                                      /'~YI-I' .tJ ,~ l-
                                                                                                                      i'
                                                                                        Mark Coleman, Special Agent
                                                                                             Printed name and title

 Sworn to before me and signed in my presence.


             t 1/ l'f / Zf) I &
                                     1
 Date:


 City and state:                                                                   Edward B. Atkins, U.S. Magistrate Judge
                                                                                             Printed name and title
